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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  KATHALEENA KAUFMAN,                              )
                                                   )
                              Petitioner,          )
                                                   )
                      vs.                          )      No. 1:16-cv-02005-TWP-DKL
                                                   )
  UNITED STATES OF AMERICA,                        )
                                                   )
                              Respondent.          )


               Entry Dismissing Motion for Relief Pursuant to 28 U.S.C. § 2255
                         and Denying Certificate of Appealability

                                     I. Section 2255 Motion

         Kathaleena Kaufman was convicted, after pleading guilty, in No. 1:12-cr-00212-TWP-

 TAB-2, of conspiring to possess with the intent to distribute, and to distribute 50 grams or more

 of methamphetamine, in violation of 21 U.S.C. § 841(a)(1). Judgment was entered on May 1,

 2014.

         Ms. Kaufman filed a motion seeking relief pursuant to 28 U.S.C. § 2255 on October 14,

 2014, in 1:14-cv-01677-TWP-MJD, which was dismissed on the merits. Judgment was entered

 on June 22, 2015.

         Ms. Kaufman filed this second motion under § 2255 on July 27, 2016. When there has

 already been a decision on the merits in a federal habeas action, to obtain another round of

 federal collateral review a petitioner requires permission from the Court of Appeals under 28

 U.S.C. § 2244(b). See Potts v. United States, 210 F.3d 770, 770 (7th Cir. 2000). This statute,

 § 2244(b)(3), “creates a ‘gatekeeping’ mechanism for the consideration of second or successive

 [habeas] applications in the district court.” Felker v. Turpin, 518 U.S. 651, 657 (1996); see
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 Benefiel v. Davis, 403 F.3d 825, 827 (7th Cir. 2005); United States v. Lloyd, 398 F.3d 978, 979-

 80 (7th Cir. 2005).

         The present action is another attempt to collaterally challenge the conviction in No. 1:12-

 cr-00212-TWP-TAB-2, however, it is presented without authorization to proceed from the Court

 of Appeals. Accordingly, this action must be dismissed for lack of jurisdiction pursuant to Rule 4

 of the Rules Governing Section 2255 Proceedings for the United States District Courts.

 Judgment consistent with this Entry shall now issue.

         This Entry shall be docketed in the underlying criminal action, No. 1:12-cr-00212-

 TWP-TAB-2.

                                II. Denial of Certificate of Appealability

         Pursuant to Federal Rule of Appellate Procedure 22(b), Rule 11(a) of the Rules

 Governing § 2255 Proceedings, and 28 U.S.C. § 2253(c), the Court finds that Ms. Kaufman has

 failed to show that reasonable jurists would find it “debatable whether [this court] was correct in

 its procedural ruling.” Slack v. McDaniel, 529 U.S. 473, 484 (2000). The Court therefore denies

 a certificate of appealability.

         IT IS SO ORDERED.



 Date: 7/29/2016

 Distribution:

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 NOTE TO CLERK: PROCESSING THIS DOCUMENT REQUIRES ACTIONS IN ADDITION TO DOCKETING AND DISTRIBUTION.
